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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No : _2_1-_2_68_3_ _ __

Short Caption: Janay Garrick v. Moody Bible Institute

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, arnicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party's main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          □         PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

( 1)      The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
          The Moody Bible Institute of Chicago



(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
           The Becket Fund for Religious Liberty

          Bryan Cave I eigbtan Paisner I I P

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                     N/A

          ii)       list any publicly held company that owns 10% or more of the party's, amicus' or intervenor's stock:

                     N.A
(4)       Provide information required by FRAP 26.l(b)-Organizational Victims in Criminal Cases:

           N/A
(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          N/A


Attorney's Signature: /s/ Colten L. Stanberry                                   Date: 01/26/2023

Attorney's Printed Name: _C_o_lt_e_n_L_._ S _ t a _ n _ b _ e _ r ~ r y ~ - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).   Yes

Address: 1919 Pennsylvania Ave. NW, Suite 400, Washington, DC 20006




Phone Number: _2_0_2_-9_5_5_-0_0_9_5_ _ _ _ _ _ _ _ _ _ _ __ Fax Number: 202-955-0090

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